                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED HEALTHCARE SERVICES,                           )
INC., and UNITED HEALTHCARE                           )
INSURANCE COMPANY,                                    )
                                                      )
        Plaintiffs,                                   )
                                                      )
v.                                                    )       Case No.
                                                      )
JEREMY ROSSEL et al.,                                 )       (Case No. 3:21-cv-1547-L, N.D. Tex.)
                                                      )
        Defendants.                                   )
                                                      )
                                                      )
BISHOP JERRY L. MAYNARD,                              )
                                                      )
        Movant.                                       )

                         JOINT DISCOVERY DISPUTE STATEMENT

        To comply with LR37.01(b) concerning the accompanying Motion for a Protective Order

filed by Bishop Jerry L. Maynard, the parties to the Motion offer this Joint Discovery Dispute

Statement through their respective undersigned counsel.

Bishop Maynard’s Position

        As reflected by the style of this action, supra, it arises from a case pending in the United

States District Court for the Northern District of Texas. United Healthcare Services, Inc. v. Jeremy

Rossel et al., Case No. 3:21-cv-1547-L. Bishop Maynard’s Motion for a Protective Order concerns

a deposition subpoena to nonparty City of Life Corporation and its accompanying Attachment

listing fourteen “Deposition Topics,” copies of which are attached hereto as Exhibits A and B,

respectively. Venue lies in this District because it is the district where the deposition is to be taken.

See Rule 26(c)(1), Fed. R. Civ. P.; see also Rule 45(d)(3)(A) (venue for motion to quash deposition

subpoena lies in the district where compliance is required). As reflected by Exhibit B, the sought-


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after deposition is a Rule 30(b)(6) deposition of City of Life Corporation.

       Counsel for Plaintiffs in the underlying action caused Exhibits A and B to be personally

served on Bishop Maynard on Friday, July 14, in his (Bishop Maynard’s) capacity as the Registered

Agent of record for City of Life Corporation, a Tennessee nonprofit corporation in good standing

with the Tennessee Secretary of State’s Office. Bishop Maynard is also the Chairman and President

of City of Life Corporation, and in those capacities, he has designated himself as City of Life

Corporation’s organizational representative under Rule 30(b)(6). Per Exhibit A (the subpoena),

Plaintiffs have scheduled the deposition for Thursday, August 10, at the offices of the Nashville Bar

Association.

       On Tuesday morning, July 25, undersigned co-counsel for Bishop Maynard (James G.

Thomas) emailed a letter to Benjamin D. Van Horn, Esq. (co-counsel for Plaintiffs), raising certain

objections to the deposition, and at least seeking a postponement to the week of August 14 because

of a scheduling conflict that Dominick J. (“Nick”) Leonardo, Esq., co-counsel for Bishop Maynard,

has. Mr. Van Horn promptly responded with a letter on the afternoon of July 25. He dismissed Mr.

Thomas’s objections because he (Mr. Thomas) did not purport to represent City of Life

Corporation, and he declined to postpone the deposition because Mr. Leonardo does not purport to

represent City of Life Corporation, either.

       On July 31 and August 1 (yesterday), undersigned counsel James G. Thomas has been in

email communication with Mr. Van Horn about the proposed Motion for a Protective Order, which

included sending Mr. Van Horn a substantially complete draft of the Motion and its supporting

Memorandum. These communications have not resolved the dispute, and Mr. Van Horn intends to

go forward with the deposition on August 10.

       For the reasons set forth in Bishop Maynard’s Motion, as supported by the Declaration of

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James G. Thomas, and given the particular history of this matter, Bishop Maynard contents that the

sought-after deposition constitutes “annoyance, embarrassment, oppression, [and] undue burden or

expense” within the meaning of Rule 26(c)(1), Fed. R. Civ. P., and Rule 45(d)(3)(A)(iv), Fed. R.

Civ. P. (separately addressing “undue burden” and making quashing mandatory). Critical to his

contention is the fact that neither he nor City of Life is a party to the underlying action, and the

deadline has long since passed for adding them as party-defendants.

United HealthCare’s Position

       In the underlying case, United Healthcare Services, Inc., et al. v. Jeremy Rossel, et al., No.

3:21-cv-01547 (N.D. Tex.) (“Rossel”), Plaintiffs (“UHC”) allege that a group of executives, in

violation of RICO, 18 U.S.C. § 1962(c), engaged in a pattern of racketeering acts through a

company called Next Health, LLC and obtained more than $100 million in insurance payments

based on fraudulent claims. Relevant here, the defendants in Rossel falsely represented that UHC’s

members paid their cost-sharing amounts (i.e., co-pays) for certain prescriptions. Instead, they used

a Tennessee public charity, City of Life CDC, Inc., to launder funds that were used to fake co-pays.

The money traveled in a circle—from Next Health to City of Life, and from City of Life back to

Next Health, which then used the laundered proceeds to fake co-pay documentation to satisfy

UHC’s audits. Next Health’s majority owners pleaded guilty to this conduct—but they have

remained silent on the details.

       UHC is now seeking those details, which is why it served two subpoenas on City of Life,

seeking documents and testimony related to this scheme. City of Life has not responded to either

subpoena, but UHC has had five months of discussions with counsel for Bishop Jerry Maynard, the

Chairman of City of Life who, ostensibly, organized and operated portions of this scheme. Bishop

Maynard, however, asserted his Fifth Amendment rights at deposition rather than discuss his

                                                 3

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relationship with City of Life, Next Health, or Next Health’s executives (defendants in Rossel).

After deposition, Bishop Maynard’s counsel provided UHC with a handful of documents—mostly

bank statements and images of checks—that Bishop Maynard authenticated on condition that doing

so wouldn’t be treated as a waiver of his rights.

       But there is more to the story; the documents are silent on the origins of deposits and the

purpose of the underlying transactions. City of Life continues to be listed as an active corporation,

and its tax filings show it operated under the control of at least seven officers, other than Bishop

Maynard. UHC therefore seeks corporate testimony from the City of Life concerning its financial

transactions with Next Health, its business dealings with Next Health’s executives, and its corporate

understanding of the purpose of those dealings. Bishop Maynard (not City of Life itself, to which

the subpoena is directed) now moves for a protective order, arguing that because only Bishop

Maynard could serve as City of Life’s corporate representative, because Bishop Maynard would

continue to assert the Fifth, and because UHC hasn’t added Bishop Maynard as a defendant in the

underlying suit, UHC’s exercise is harassing. These arguments fail for a few reasons.

       First, Bishop Maynard, who is not a party in Rossel, does not have standing to move for a

protective order on behalf of City of Life. See Fed. R. Civ. P. 26(c)(1) (A motion for a protective

order is available to “a party or by the person from whom discovery is sought.”). Bishop Maynard’s

counsel has repeatedly told UHC’s counsel that they do not represent City of Life, only Bishop

Maynard. And it is Bishop Maynard, not City of Life, that moves here.

       Second, even if Bishop Maynard could rightly object, his self-designation as the only likely

corporate representative is not grounds to prevent the deposition. A corporation’s duties under Rule

45, like those under Rule 30(b)(6), require it to present a witness with the ability to speak to and

authority to bind it as to the corporation’s position on the topics presented. Schnatter v. 247 Grp.,

                                                    4

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LLC, 343 F.R.D. 325, 331 (W.D. Ky. 2022). A corporation may not shield itself from testifying by

presenting a witness that pleads the Fifth Amendment in a personal capacity. While a person

harboring a reasonable fear of criminal prosecution cannot be compelled to testify against himself, a

corporation has no such right; and it instead has an obligation to testify through a witness that will

not invoke the Fifth Amendment. See, e.g., Convertino v. U.S. Dep’t of Just., No. 07-13842, 2013

WL 153311, at *5 (E.D. Mich. Jan. 15, 2013); see also City of Chicago, Ill. v. Wolf, No. 91 C 8161,

1993 WL 177020, at *2 (N.D. Ill. May 21, 1993) (A “corporation [ ] can be compelled to answer

the questions through an agent who will not invoke the privilege. This includes, if necessary,

retaining a person not previously associated with the corporation so that that person can answer the

questions.”). Here, City of Life has at least seven other officers, excluding Bishop Maynard, that

can speak on its behalf.

       And finally, UHC’s purpose here is not harassment, but gleaning the details of the money

laundering scheme executed through the City of Life. And the deposition UHC seeks will only

cover a few discrete topics—mostly concerning financial transactions which would be simple for a

corporate witness to prepare to speak about. Bishop Maynard is correct that he is not a defendant in

Rossel; he is also correct that discovery in that matter has been extended several times to

accommodate the breadth of the numerous and various schemes at issues (of which, the money

laundering through City of Life is but a discrete part). But Rule 45 exists to permit parties to obtain

discovery from non-parties. The Court should therefore compel City of Life to abide by its

obligation to provide a corporate representative for deposition who is adequately prepared to speak

to the topics in UHC’s subpoena. UHC’s appreciates the Court’s consideration.




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       Respectfully submitted,



SINTON • SCOTT • MINOCK • KEREW                NEAL & HARWELL, PLC


/s/ Benjamin D. Van Horn                       /s/ James G. Thomas
Benjamin D. Van Horn                           Aubrey B. Harwell, Jr., TBPR No. 002559
1550 Market Street, Suite 400                  James G. Thomas, TBPR No. 007028
Denver, Colorado 80202                         1201 Demonbreun Street, Suite 1000
(720) 738-9808                                 Nashville, TN 37203
bvanhorn@ssmklaw.com                           (615) 244-1713
                                               aharwell@nealharwell.com
                                               jthomas@nealharwell.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that this Joint Discovery Dispute Statement has been served on all counsel

of record in Case No. 3:21-cv-1547-L (N.D. Tex.) via their electronic mail addresses on file with

the Clerk of the United States District Court for the Northern District of Texas in that matter, this

the 2nd day of August, 2023.



                                                     /s/ James G. Thomas




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                              EXHIBIT A
                      Plaintiffs' Deposition
                     Subpoena to City of Life
                          Corporation




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AO 88A (Rev. l2120) Subpoena to Testiry at a Deposition in a Civil Action


                                       UNTmn SrarBS DISTruCT COURT
                                                                            for the
                                                            Northem District of Texas

          United Healthcare Services, lnc., et al
                                                                               )
                               Plaintiff                                       )
                                                                               )      Civil Action No. 3:21-cv-1547-L
                     Jeremy Rossel, et al.                                     )
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CTVIL ACTION

 To                                      City of Life CDC, lnc. alkla City of Life Corporation
                    c/o Bishop Jerry Maynard,404 Warioto Way #1003, Ashland City, TN 37015 (Registered Agent)
                                                       (Name of person to whom this subpoena is directed)

     /Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testiff at a
deposition to be taken in this civil action. If you are an organizalion, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testi$ on your behalf about
these matters: See Attached Exhibit A


 p14ss. Nashville Bar Association, 150 4th Ave. N, Suite 1350,                         Date and Time:
           Nashville, TN 37219                                                                          O8l1Ol2O2310:00 am


          The deposition will be recorded by this method:                     Stenographic and Videographic Means

      J Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




        The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences ofnot doing so.

Date: 0711412023
                                   CLERKOF COURT
                                                                                         OR

                                           Signature of Clerk or Deputy Clerk                                Attornel,'s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)  United Healthcare
Services, lnc.                                                          , who issues or requests this subpoena, are:
Benjamin D. Van Horn, 1550 Market Street, Suite 400, Denver, CO 80202

                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy ofthe subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. as(a)(a).

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AO 88A (Rev. 12120) Subpoena to Testify at a Deposition in a Civil Action (Page 2)


Civil Action 1r1s. 3:21-cv-1547-L

                                                               PROOF OF SERVICE
                     (This section should not be liled with the court unless rcquired by Fed R Civ. P. 45,)

            I received this subpoenafor fuame of individual and title, if any)
on (date)

            D I served the subpoena by delivering a copy to the named individual as follows

                                                                                     on (date)                     or

            f, I returned the subpoena unexecuted because:

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of

            $


My fees are $                                      for travel and $                      for services, for a total of$   0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Semer's signature



                                                                                          Printed name and tille




                                                                                            Server's address


Additional information regarding attempted service, etc.




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AO 88A (Rev. 12120) Subpoena to TestiE' at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective l2llll3\
(c) Place of Compliance.                                                                (i) disclosing a trade secret or other confidential research, development,
                                                                                  or commercial information; or
  (ll For a Trial, Hearing, or Deposition. A subpoena may command a                    (ii) disclosing an unretained expert's opinion or information that does
person to aftend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert's
   (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specifling Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead ofquashing or
transacts business in person, ifthe person                                        modiling a subpoena, order appearance or production under specified
      (i) is a party or a party's officer; or                                     conditions ifthe serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Diseovery. A subpoena may command:
   (A) production ofdocuments, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                           (l) Producing Documents or Electronically Stored Information, Tfiese
   (B) inspection of premises at the premises to be inspected.                    procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course ofbusiness or
  (l) Avoiding Undue Burden or Expense; Sanctions. A party or attomey             must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Formfor Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the              Ifa subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost eamings and reasonable attomey's fees----on a party or attorney who             (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
  (2) Command to Produce Materials or Permit Inspection,                             (D) Inaccessible Electronically Stored Information- The person
   (A) Appearance Not Required. A person commanded to produce                     responding need not provide discovery ofelectronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection ofpremises, need not appear in person at the place of       ofundue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because ofundue burden or cost. Ifthat showing is
   (B) Objections. A person commanded to produce documents or tangible            made, the court may nonetheless order discovery from such sources ifthe
things or to permit inspection may serve on the party or attomey designated       requesting party shows good cause, considering the limitations ofRule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises---or to
producing electronically stored information in the form or forms requested.       (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for          (A'1 Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. Ifan objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
      (i) At any time, on notice to the commanded person, the serving party            (i) expressly make the claim; and
may move the court for the district where compliance is required for an                (ii) describe the nature of the withleld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the      privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from       (B\ Information Produced. Ifinformation produced in response to a
signifi cant expense resulting from compliance.                                   subpoena is subject to a claim ofprivilege or ofprotection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3\ Quashing or Modilying a Subpoena.                                            that received the information ofthe claim and the basis for it. After being
                                                                                  notified, a party must promptly retum, sequester, or destroy the specified
  (A) Wen Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure ofprivileged or other protected matter, ifno       resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B\ When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena ifit requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                  subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                           EXHIBIT B
                        Deposition Topics




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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS

    UNITED HEALTHCARE SERVICES,
    INC., UNITEDHEALTHCARE
    INSURANCE COMPANY,

        Plaintiffs
                                                  Case No. 3:21-cv-01 547 -L
 v

 JEREMY ROSSEL, et al.,

        Defendants.




            EXHIBIT 1 - ATTACHMENT TO SUBPOENA FOR
        DEPOSITION TESTIMONY TO CITY OF LIFE CORPORATION

       The following deposition topics are promulgated under Federal Rule of Civil
Procedure 30(b)(6) and 45(c)(1). Unless otherwise stated, the Relevant Time Period
for purposes ofthese topics is from January I,2OI4, to the present.

                                         Definitions
A.     'You" and "your" refer to City of Life CDC Incorporated alk/a City of Life
       Corporation and any of its agents, associates, employees, representatives,
       assigns, attorneys, affiliates or other person or entity acting or purporting to
       act on his behalf.

B.     "Next Health" means Next Health LLC, together with Pharma Holdings US,
       LTD, Pharma Holdings US, LLC, Meds Direct Rx, Inc., LLC RX, Inc., the
       Laboratory Affiliate entities and Pharmacy Affiliate entities, as well as any
       other entities Next Health owns or operates, and any of its officers, directors,
       members, employees, agents, parents, subsidiaries, affiliates, consultants,
       successors (including, inter alia, Critical Healthcare Management, LLC
       ("CHM")), predecessors (including, inter alia, Business Partners in Healthcare,
       LLC), assigns, and attorneys.

c      "Laboratory Affiliate(s)" means Licensed Labs and Shell Labs

D      "Licensed Labs" include American Laboratories Group, LLC, Medicus
       Laboratories, LLC, US Toxicology, LLC, United Toxicology,LLC, True Labs,
       LLC and any other laboratory affiliated with Next Health that had a Clinical

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      Laboratory Improvement Amendments ("CLIA") certification. Licensed Labs,
      however, only applies to the timeframe during which any of the foregoing labs
      had a CLIA certification.

E     "Shell Labs" include: Altus Toxicology, LLC, Addison Laboratories LLC,
      Empire Labs, LLC, Central Texas Toxicology LLC, Facilitated Labs LLC,
      Guardian Toxicology, LLC, Trident Laboratories, LLC, Sunshine Toxicology,
      LLC, Stars Toxicology,LLC, New Way Labs, LLC, National Toxicology,LLC,
      Infinity Toxicology, LLC, Clinical Labs of America, LLC, Sirius Laboratories,
      LLC, Reliant Labs, LLC, University Laboratories LLC, and Pure Reference
      Laboratory,LLC.

F.    Pharmacy Affiliate(s) means Class A Pharmacies and Class G Pharmacies.

G     "Class A Pharmacies" include Aditya Balaji Enterprise, Inc. d/b/a KKs
      Pharmacy #L51, Apex Pharma d/b/a Apex Pharmacy, Care Plus Pharmacy,
      Community Express Pharmacy, Cor Pharma d/b/a Roc Pharma, Meds Direct
      Rx of NV, Executive Healthcare d/b/a the Apothecary Shop, Gulf State Health
      Partners LLC dlbla RX2 Geaux, JPX2 LLC dlbla America Meds Direct Rx,
      Maha Kali Naga Balaji LLC dlbla Forney Pharmacy, McJele Ventures Inc.
      d/b/a AC Pharmacy, Meyerland Pharmacy, New Hope Pharmacy Inc. d/b/a
      Meds Direct Rx of CA, Pharma Holdings US of FL dlbla Meds Direct Rx of FL,
      Pharma Holdings US of NY d/b/a Meds Direct Rx of NY, Pharma Holdings US
      of TN d/b/a Meds Direct Rx of TN, Pharmaceutical Care Solutions LLC dlbla
      Pharmacy 45, Pinnacle Pharma, Progressive Pharma dlbla Altus Pharmacy,
      TD Pharmacy, Total Pharma dlblaLot Pharma.

H     "Class G Pharmacies" include Absolute Pharma, Hilltree Pharmacy, Legacy
      Pharmacy, Patients Pharmacy, and Select Pharma.

I     The words "and" and "or" as used herein shall be construed either disjunctively
      or conjunctively as required by the context to bring within the scope of these
      production requests any answer that might be deemed outside its scope by
      another.

J     "Electronic Message" means any electronic text or media content exchanged
      between two or more users of a software application other than email.
      Electronic messages include both SMS messages sent over cellular networks
      and messages sent over the Internet using applications such as WhatsApp,
      iMessage, Facebook Messenger, Twitter (via direct message), Slack,
      Instagram, Google Chat, and others. Electronic Messages include content sent
      over any software applications with built-in chat and/or messaging systems.

K.    'A.ty" shall be understood to include and encompass "all" and vice-versa.


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L     "Concerning" means concerning, referring to, describing, evidencing, or
      constituting.

                                 Deposition Topics
1     Your formation, corporate governance, employees, contractors, and other
      persons or officers associated with You, including their roles, authorities, and
      responsibilities.

2     The identity of any persons or entities to which You made financial
      contributions or payments from January 1, 20L4, to January 1, 2018, the
      amounts of those payments, and the purposes of those payments.

3.    The identity of any persons or entities which made financial contributions or
      payments to You from January L, 2014, to January 1, 2018, the amounts of
      those payments, and the purposes of those payments.

4.   Financial or business relationships, arrangements, and transactions You made
     or You arranged to be made with or Concerning Next Health, Meds Direct Rx,
     Inc., LLC Rx, Pharmacy Affiliates, or any other person or business associated
     with those entities, including Semyon Narosov, Eric Narosov, Shawn Narosov,
     Yan Narosov, Allan Cohen, Cary Rossel, Amir Mortazavi, Mike Austin, Nick
     Austin, Josh Daniel, Josh lhde, Arvin Zeinalt, Karynn Harvard, and/orAndrew
      Hillman.

5.   Your involvement in administering, assisting, supporting, or contributing to a
     patient or prescription assistance program regarding patients that had
     prescriptions filled by Next Health-associated pharmacies.

6.   Your discussions or interactions with, or evaluations of, patients' financial
     need associated with Your issuing checks to cover co-pays of patients that had
     their prescriptions filled by Next Health.
-t   Transactions involving the bank account numbered 1044605, including all
     credits and debits, from January L,2014, to January L,20L7.

8    Transactions involving the bank account numbered I03747L, including all
     credits and debits, from January L,2014, to January t,20L7.

I    Transactions between or among You and the bank account ending in x**2576
     (or **12576), from January L,20L4, to January L,2OL7.

10   Transactions between You and Next Health, Pinnacle Pharmacy, Apex
     Pharmacy, Apothecary Shop, Lot Pharmacy, Agape Pharmacy, Forney,
     Meyerland, Pharma Select, Altus, Agape, Community Express Pharmacy, TD,
     AC, and CEP.

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l_1.   The meaning, purpose, and all action taken concerning the following
       Chairman's Comments, delivered at a March 9, 2015, Board of Directors
       Meeting: "Chairman Maynard indicated that the Florida group wants to have
       a person located here to work on health issues and that they would be here in
       two weeks to give us more detailed information. He said the CDC has already
       received a check for $40,000 but we will have a separate checking account for
       this activity."

L2     The meaning, purpose, and all action taken concerning the following
       Chairman's Comments, delivered at an October 10, 2016, Board of Directors
       Meeting: "In February 2015, an agreement was made with our business
       partners in Texas to receive funds to help with the co-pays for prescriptions.
       The Chairman announced that our participation in this program has been'shut
       down'and was no longer available to the CDC."
l-3. All other board meetings regarding, or actions taken with respect to or
       involving, any of the entities or individuals mentioned in this Exhibit A.

L4. Your understanding of the reasons for, or status of, any criminal investigation
       or action concerning Bishop Jerry L. Maynard involving or related to any of
       the entities mentioned in this Exhibit A.

Submitted July 14, 2023.


                                               /s/Benjarnin D. Van Horn

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